         Case 2:19-cv-01155-KWR-CG Document 68 Filed 06/30/20 Page 1 of 1


                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

SUSAN HYLTON,

             Plaintiff,

v.                                                            No. CV 19-1155 KWR/CG

BOARD OF COUNTY COMMISSIONERS FOR
THE COUNTY OF DOÑA ANA, et al.,

             Defendants.

     ORDER VACATING STATUS CONFERENCE AND SETTING HEARING ON MOTION

       THIS MATTER is before the Court on Defendants’ Motion to Stay Discovery Pending

Ruling on Qualified Immunity (the “Motion”), (Doc. 57), filed June 17, 2020. A hearing is

hereby set on Defendants’ Motion for July 7, 2020, at 2:00 p.m. Counsel shall call Judge

Garza’s AT&T line at (877) 810-9415, follow the prompts, and enter access code 7467959, to

be connected to the hearing.

       IT IS FURTHER ORDERED that the previously scheduled status conference, set for

July 16, 2020, is hereby VACATED.

      IT IS SO ORDERED.



                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE
